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,QGLYLGXDO'HIHQGDQWVDUHDOVROLDEOHIRU+(;2¶VIDOVHILQDQFLDOUHVXOWVPDWHULDORPLVVLRQVDQG

DFWVLQIXUWKHUDQFHRIWKHDFFRXQWLQJDQGILQDQFLDOVFKHPHVXVHGWRLQIODWH+(;2¶VUHVXOWVDQG




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SURMHFWLRQVPDLQWDLQDUWLILFLDOO\KLJKPDUNHWSULFHVDQGWRHQULFKWKHPVHOYHV7KH,QGLYLGXDO

'HIHQGDQWVDUHDOVROLDEOHIRUSDUWLFLSDWLQJLQGHFHSWLYHFRQGXFWNQRZLQJO\FRQFHDOLQJIDFWV

QHFHVVDU\WRUHQGHU+(;2¶VILQDQFLDOUHVXOWVDQGLWVVWDWHPHQWVQRWPLVOHDGLQJDQGIRU

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ZDVQHFHVVDU\DQGLQHYLWDEOHWKDWWKHIUDXGXOHQWILQDQFLDOLQIRUPDWLRQZRXOGEHFRPPXQLFDWHGWR

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         JURVVUHYHQXHSHUJUDPIRUDGXOWXVHVDOHVRIDQGJUDPDQGJUDP
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         HVWLPDWHVWKDWZDVUHDOL]HGLQ4XpEHFWKURXJKWKH&RPSDQ\¶VVXSSO\
         DJUHHPHQWZLWKWKH64'&:KLOHWKH&RPSDQ\KDV\HWWRUHSRUWDQ\ILQDQFLDO
         UHVXOWVIRUDQ\SHULRGVXEVHTXHQWWR2FWREHUWKH&RPSDQ\HVWLPDWHV
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         DSSUR[LPDWHO\PLOOLRQ6XFKHVWLPDWHLVEDVHGRQWKHLQIRUPDWLRQDYDLODEOHWR
         XVDWWKLVWLPHDQGVKRXOGQRWEHYLHZHGDVDVXEVWLWXWHIRURXUIXOOLQWHULPRU
         DQQXDOILQDQFLDOVWDWHPHQWVSUHSDUHGLQDFFRUGDQFHZLWK,)56
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         :LOJDU &(2RI1HZVWULNH DQGKLVWHDPKDYHEXLOWLQFUHGLEOHUHODWLRQVKLSV
         LQFOXGLQJWHDPLQJXSZLWK7KH7UDJLFDOO\+LSDQGWKH\VKDUH+(;2¶VYLVLRQRI
         EULQJLQJH[FHSWLRQDOEUDQGHGFDQQDELVH[SHULHQFHVWRDGXOWVHYHU\ZKHUH´VDLG
         6HEDVWLHQ6W/RXLV&(2DQGFRIRXQGHURI+(;2&RUS³:LWK1HZVWULNHZH UH
         DGGLQJWDOHQWHGHPSOR\HHVDQGLQIUDVWUXFWXUHWRWDNH+(;2WRWKHQH[WOHYHORQ
         RXUMRXUQH\WREHFRPHRQHRIWKHODUJHVWFDQQDELVFRPSDQLHVLQWKHZRUOG:H UH
         H[WUHPHO\SURXGRIRXUUHFRUGRIH[HFXWLRQDQGWRGD\DUHFRPPLWWLQJWR
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         JLYHV+(;2WKHFDSDFLW\WRSURGXFHDSSUR[LPDWHO\NJRIKLJKTXDOLW\
         FDQQDELVDQQXDOO\7KH7UDQVDFWLRQDOVRSURYLGHV+(;2DFFHVVWRIRXUFXWWLQJ
         HGJHSURGXFWLRQFDPSXVHVWRWDOLQJFORVHWRPLOOLRQVTIWRIQHDUWHUP
         FXOWLYDWLRQVSDFHDQGGLYHUVLILHGJURZLQJDQGSURGXFWLRQWHFKQLTXHV7KLVLVLQ
         DGGLWLRQWR+(;2¶VVTIWIDFLOLW\IRUDPDQXIDFWXULQJDQGSURGXFW
         GHYHORSPHQWFHQWUHRIH[FHOOHQFHLQ%HOOHYLOOH2QWDULR
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         HVWDEOLVKHGGLVWULEXWLRQDJUHHPHQWVLQSURYLQFHVLQFOXGLQJ2QWDULR4XHEHF
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         (GZDUG,VODQGDOORZLQJEURDGFRQVXPHUDFFHVVWR+(;2¶VSURGXFWVDFURVV
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         DFFHVVWRGLYHUVLILHGJURZLQJWHFKQLTXHVDQGSRVLWLRQV+(;2IRUIOH[LELOLW\IRU
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         GHWHUPLQHGXVLQJWKHZHLJKWHGDYHUDJHPHWKRG,QYHQWRULHVRIKDUYHVWHGFDQQDELV
         DUHWUDQVIHUUHGIURPELRORJLFDODVVHWVDWWKHLUIDLUYDOXHDWKDUYHVWZKLFKEHFRPHV
         WKHLQLWLDOGHHPHGFRVWRIWKHLQYHQWRU\$Q\VXEVHTXHQWSRVWKDUYHVWFRVWVDUH
         FDSLWDOL]HGWRLQYHQWRU\WRWKHH[WHQWWKDWFRVWLVOHVVWKDQQHWUHDOL]DEOHYDOXH
         6XEVHTXHQWFRVWVLQFOXGHPDWHULDOVRYHUKHDGDPRUWL]DWLRQVWRFNEDVHG
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         TXDOLW\DVVXUDQFH7KHLGHQWLILHGFDSLWDOL]HGGLUHFWDQGLQGLUHFWFRVWVUHODWHGWR
         LQYHQWRU\DUHVXEVHTXHQWO\UHFRUGHGZLWKLQµFRVWRIJRRGVVROG¶RQWKHVWDWHPHQW
         RIORVVDQGFRPSUHKHQVLYHORVVDWWKHWLPHWKHSURGXFWLVVROGZLWKWKHH[FOXVLRQ
         RIUHDOL]HGIDLUYDOXHDPRXQWVLQFOXGHGLQLQYHQWRU\VROGZKLFKDUHUHFRUGHGDVD
         VHSDUDWHOLQHZLWKLQJURVVPDUJLQEHIRUHGHSUHFLDWLRQ1HWUHDOL]DEOHYDOXHLV
         GHWHUPLQHGDVWKHHVWLPDWHGVHOOLQJSULFHLQWKHRUGLQDU\FRXUVHRIEXVLQHVVOHVV
         WKHHVWLPDWHGFRVWVRIFRPSOHWLRQDQGWKHHVWLPDWHGFRVWVQHFHVVDU\WRPDNHWKH
         VDOH3DFNDJLQJDQGVXSSOLHVDUHLQLWLDOO\YDOXHGDWFRVWDQGVXEVHTXHQWO\DWWKH
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         7KHVHFRQGHQVHGLQWHULPFRQVROLGDWHGILQDQFLDOVWDWHPHQWVKDYHEHHQSUHSDUHGLQ
         FRPSOLDQFHZLWK,QWHUQDWLRQDO$FFRXQWLQJ6WDQGDUG,QWHULP)LQDQFLDO
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         VKRXOGEHUHDGLQFRQMXQFWLRQZLWKWKHDQQXDOFRQVROLGDWHGILQDQFLDOVWDWHPHQWVRI
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         JUHHQKRXVH LQ 1LDJDUD ZKHUH DUH WKH\ FXUUHQWO\ DW"$Q\ FRORU WKHUH ZRXOG EH
         KHOSIXO
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         ORRNLQJIRUZDUGWREULQJLQJLQWKH+(;2WHDPLQWKHUHWRUDPSXSWKH\LHOGV:H
         EHOLHYHWKDWFRXSOHGZLWKWKHJUHDWLQIUDVWUXFWXUH1HZVWULNHKDVSXWLQSODFHSXWWLQJ
         LQ+(;2 VPDQDJHPHQWDQGSURGXFWLRQSURFHVVHVZLOOJUHDWO\LQFUHDVH\LHOGVWKHUH
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         ZDOOVDUHDOOXSWKHJODVVLVRQEXWWKHUHZLOOEHDOLFHQVLQJWKHUHLVDQH[SHFWHG
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         ZH YH SURYHQ WLPH DQG WLPH DJDLQ RQH RI WKH EHVW LQ WKH EXVLQHVV VR ZH GRQ W
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         WKLVHDUOLHULQRQHRIWKHTXHVWLRQV%XWHIIHFWLYHO\JURZLQJFDQQDELVLVRQHWKLQJ
         DQGSURGXFLQJLWDQGSXWWLQJLWRQWKHLQYHQWRU\DVEXONSDFNDJHGLQYHQWRU\EXW
         WKHQDFWXDOO\SDFNDJLQJLWIRUWKHFRQVXPHULVDQHQWLUHO\GLIIHUHQWEHDVW$QG
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         FRPLQJRIIWKHOLQHIURPRXU%IDFLOLW\LV,PHDQWKHKDUYHVWVDUHVWDUWLQJ
         VRRQ2QFHLW VFRPHRIIWKHOLQH\RXKDYHDOOWKHWHVWLQJSURWRFROV\RXKDYHDOO
         WKHFOHDQLQJSURWRFROVWKDWQHHGWRJRLQVXFKDVWKHUDGLDWLRQRURWKHUDQGWKHQ
         \RXQHHGWRDFWXDOO\KDYHWKHSDFNDJLQJVKLSSLQJHWFHWHUDORDGLQJLQWRWKH
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         DUHWUDQVIHUUHGIURPELRORJLFDODVVHWVDWWKHLUIDLUYDOXHDWKDUYHVWZKLFKEHFRPHV
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                        3ODLQWLII LV ZLOOLQJ WR VHUYH DV D UHSUHVHQWDWLYH SDUW\ RQ EHKDOI RI WKH FODVV
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                          3ODLQWLII KDV PDGH QR WUDQVDFWLRQ V GXULQJ WKH &ODVV 3HULRG LQ WKH GHEW RU HTXLW\
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